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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

 UNITED STATES OF AMERICA ,

                Plaintiff,                                     HONORABLE PAUL L. MALONEY

 v.                                                            Case No. 1:10-cr-168

 EDDIE CASTILLA -LUGO , ISRAEL TONI
 ARMENDARIZ-BECERRA , AND MIGUEL
 MERLOS-GONZALEZ,

            Defendants.
 _________________________________/

           ORDER GRANTING MOTION FOR ENDS OF JUSTICE CONTINUANCE

                This matter is before the Court on the government's Motion for Ends of Justice

Continuance (Dkt. #88). The government seeks an ends of justice continuance of the final pretrial

conference presently scheduled for October 4, 2010 and the trial scheduled for October 19, 2010 in order

to allow continuity of government's counsel. The attorney for the government is scheduled to appear for

oral argument before the Sixth Circuit Court of Appeals on October 19, 2010, the same day trial for this

case is to begin. Counsel for defendants Castilla-Lugo and Merlos-Gonzalez do not object to the

continuance. Counsel for defendant Armendarez-Becerra does object.

                The Court finds that the ends of justice served by the granting of a continuance

outweighs the best interest of the public and the defendants in a speedy trial.

                NOW THEREFORE, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), an ends of justice

continuance is hereby entered. The final pretrial conference is rescheduled to October 18, 2010 at 9:00

a.m. Jury trial is rescheduled to October 26, 2010 at 8:45 a.m.


Date: September 27, 2010                                         /s/ Paul L. Maloney
                                                                Paul L. Maloney
                                                                Chief United States District Judge
